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AO 2458 (CASDRev. 08113) Judgment in a Criminal Case

                                                                                                               Jul 27 2015
                                       UNITED STATES DISTRICT COURT
                                            SOUTHERN DISTRICT OF CALIFORNIA                                      s/ darcig

             UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                  V.                                (For Offenses Committed On or After November I, 1987)
               FRANKLIN LAMBERTH (5)
                                                                       Case Number:         14CR2907-CAB

                                                                    ROSELINE D. FERAL
                                                                    Defendant's Attorney
REGlSTRATION NO.                  39659298
o
THE DEFENDANT:
I:8J pleaded gUilty to count{s)          ONE (1) OF THE ONE-COUNT INDICTMENT

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                        Nature of Offense                                                                 Number(s)
18 USC 1962(d) and                     CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS                                              1
18 USC 1963                            THROUGH A PATTERN OF RACKETEERING ACTIVITY




    The defendant is sentenced as provided in pages 2 through                  4           of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
o Count(s)                                                     is           dismissed on the motion of the United States.

I:8J Assessment: $100.00



I:8J No fine                           Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.




                                                                    HON.             Y ANN BENCIVENGO
                                                                    UNITED STATES DISTRICT JUDGE



                                                                                                                      14CR2907 -CAB
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